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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 1



                                          UNITED STATES DISTRICT COURT
                                        Western District of Arkansas
                                                      )
               UNITED STATES OF AMERICA               )     JUDGMENT IN A CRIMINAL CASE
                          v.                          )
                                                      )
                                                      )     Case Number:         4:15CR40024-002
                    SHERRY COLLIER                    )     USM Number:          14226-010
                                                      )
                                                      )     Jason Lee Horton
                                                      )     Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        Two (2) of the Indictment on September 15, 2016.
    pleaded nolo contendere to count(s)
    which was accepted by the court.
    was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended           Count
18 U.S.C. §§ 472 and 2            Aiding and Abetting the Passing of Forged and Counterfeited                 12/09/2014             2
                                  Obligations of the United States with the Intent to Defraud




       The defendant is sentenced as provided in pages 2 through             6         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on count(s)
    Count(s)                                               is       are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                      February 16, 2017
                                                                      Date of Imposition of Judgment


                                                                      /s/ Susan O. Hickey
                                                                      Signature of Judge




                                                                      Honorable Susan O. Hickey United States District Judge
                                                                      Name and Title of Judge


                                                                      February 21, 2017
                                                                      Date
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                       Sheet 4—Probation

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 DEFENDANT:                 SHERRY COLLIER
 CASE NUMBER:               4:15CR40024-002

                                                             PROBATION
 You are hereby sentenced to probation for a term of : three (3) years, with the first two (2)
 months of home detention without location monitoring.

                                                     MANDATORY CONDITIONS
 1.  You must not commit another federal, state or local crime.
 2.  You must not unlawfully possess a controlled substance.
 3.  You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
     probation and at least two periodic drug tests thereafter, as determined by the court.
                The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                substance abuse. (check if applicable)
 4. X You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 5.         You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
            as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where
            you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 6.         You must participate in an approved program for domestic violence. (check if applicable)
 7.         You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
 8. You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
 9. If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
 10. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
     fines, or special assessments.


 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
 page.
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                       Sheet 4A — Probation

                                                                                                 Judgment—Page        3       of         6

DEFENDANT:                   SHERRY COLLIER
CASE NUMBER:                 4:15CR40024-002

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers to
keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
      you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date
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                       Sheet 4D — Probation

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DEFENDANT:                  SHERRY COLLIER
CASE NUMBER:                4:15CR40024-002

                                          SPECIAL CONDITIONS OF SUPERVISION
         1.        For home detention purposes, the defendant is restricted to her residence at all times except for employment;
                   education; religious services; medical, substance abuse, or mental health treatment; attorney visits; court
                   appearances; court-ordered obligations; or other activities as preapproved by the United States Probation
                   Office.

         2.        The defendant shall submit her person, residence, and vehicle to a search conducted by the United States
                   Probation Office at a reasonable time and in a reasonable manner based on reasonable suspicion of evidence
                   of a violation of any condition of probation. Failure to submit to a search may be grounds for revocation.

         3.        The defendant shall comply with any referral, inpatient or outpatient, made by the United States Probation
                   Office for evaluation, counseling, testing or treatment for substance abuse.

         4.        The defendant shall not incur any new debt nor establish any bank or credit accounts unless receiving prior
                   approval from the United States Probation Office, and shall make any information concerning her financial
                   status available to the probation officer upon request, until restitution is paid in full.
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties

                                                                                                           Judgment — Page     5      of       6
 DEFENDANT:                         SHERRY COLLIER
 CASE NUMBER:                       4:15CR40024-002

                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                   JVTA Assessment*                Fine                         Restitution
 TOTALS            $ 100.00                      $ -0-                            $ -0-                        $ 195.00


    The determination of restitution is deferred until                    . An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

X The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

 Name of Payee                                 Total Loss**                        Restitution Ordered                       Priority or Percentage
 CVS Pharmacy                                                   $95.00                             $95.00
 3908 North State Line Avenue
 Texarkana, AR 71854

 Walmart                                                        $50.00                               $50.00
 133 Arkansas Boulevard
 Texarkana, AR 71854

 Quality Inn                                                    $50.00                               $50.00
 5210 North State Line Avenue
 Texarkana, AR 71854




 TOTALS                                $                        195.00        $                      195.00

    Restitution amount ordered pursuant to plea agreement $

    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
    fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
    to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X The court determined that the defendant does not have the ability to pay interest and it is ordered that:
    X the interest requirement is waived for the                   fine   X restitution.

         the interest requirement for the                fine        restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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                       Sheet 6 — Schedule of Payments

                                                                                                               Judgment — Page       6      of           6
 DEFENDANT:                  SHERRY COLLIER
 CASE NUMBER:                4:15CR40024-002

                                                        SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    X Lump sum payment of $              295.00               due immediately, balance due

                  not later than                                     , or
            X     in accordance with           C,          D,           E, or   X F below; or
 B          Payment to begin immediately (may be combined with                   C,           D, or         F below); or

 C          Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this judgment; or

 D          Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                           (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F    X Special instructions regarding the payment of criminal monetary penalties:
            If not paid immediately, any unpaid financial penalty imposed shall become a special condition of probation and may be paid in
            monthly installments of not less than 10% of the defendant’s net monthly household income, but in no case less than $25.00 per
            month.



 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 X    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
      Joint and Several with Shantrel Hall, Case Number: 4:15CR40024-001 and Steven Shane Turnage, Case Number 4:15CR40029-001 -
      $195.00 (Restitution to CVS Pharmacy, Walmart, and Quality Inn)


      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant’s interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
